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 Fill in this information to identify your case:

 Debtor 1                 Naima Nur Hashim-White
                          First Name                        Middle Name               Last Name

 Debtor 2
 (Spouse if, filing)      First Name                        Middle Name               Last Name


 United States Bankruptcy Court for the:              DISTRICT OF MARYLAND

 Case number
 (if known)                                                                                                                  Check if this is an
                                                                                                                             amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                                12/15


If you are an individual filing under chapter 7, you must fill out this form if:
    creditors have claims secured by your property, or
  you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
        whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
        on the form

If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must
         sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
        write your name and case number (if known).

 Part 1:        List Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
   information below.
    Identify the creditor and the property that is collateral  What do you intend to do with the property that    Did you claim the property
                                                               secures a debt?                                    as exempt on Schedule C?



    Creditor's         Bank Of America                                       Surrender the property.                        No
    name:                                                                    Retain the property and redeem it.
                                                                             Retain the property and enter into a           Yes
    Description of 2502 Markham Lane, Unit 4                                 Reaffirmation Agreement.
    property       Hyattsville, MD 20785 Prince                              Retain the property and [explain]:
    securing debt: Georges County                                           Debtor will retain collateral and continue
                                                                           making payments per the contract


    Creditor's         Marhham View Condominium, Inc                         Surrender the property.                        No
    name:                                                                    Retain the property and redeem it.
                                                                             Retain the property and enter into a           Yes
    Description of 2502 Markham Lane, Unit 4                                 Reaffirmation Agreement.
    property       Hyattsville, MD 20785 Prince                              Retain the property and [explain]:
    securing debt: Georges County                                           Debtor will retain collateral and continue
                                                                           making payments per the contract


    Creditor's         PG County Treasury Div.                               Surrender the property.                        No
    name:                                                                    Retain the property and redeem it.
                                                                             Retain the property and enter into a           Yes
    Description of       2502 Markham Lane, Unit 4                           Reaffirmation Agreement.

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 Debtor 1      Naima Nur Hashim-White                                                                 Case number (if known)


    property       Hyattsville, MD 20785 Prince                             Retain the property and [explain]:
    securing debt: Georges County                                         Debtor will retain collateral and continue
                                                                         making payments per the contract

 Part 2:   List Your Unexpired Personal Property Leases
For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill
in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

 Describe your unexpired personal property leases                                                                              Will the lease be assumed?

 Lessor's name:               ADT                                                                                                 No

                                                                                                                                  Yes

 Description of leased        Home Alarm Service
 Property:

 Lessor's name:               BGE                                                                                                 No

                                                                                                                                  Yes

 Description of leased        Utilities/Power
 Property:

 Lessor's name:               Metropolitan Life Insurance Co.                                                                     No

                                                                                                                                  Yes

 Description of leased        Homeowner's Policy
 Property:

 Lessor's name:               Sport Fit Bowie                                                                                     No

                                                                                                                                  Yes

 Description of leased        Gym Membership
 Property:

 Lessor's name:               Washington Gas                                                                                      No

                                                                                                                                  Yes

 Description of leased        Natural Gas Service
 Property:

 Lessor's name:               WSSC                                                                                                No

                                                                                                                                  Yes

 Description of leased        Water/Sewer
 Property:



 Part 3:     Sign Below

Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal

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 Debtor 1      Naima Nur Hashim-White                                                                Case number (if known)


property that is subject to an unexpired lease.

 X     /s/ Naima Nur Hashim-White                                                   X
       Naima Nur Hashim-White                                                           Signature of Debtor 2
       Signature of Debtor 1

       Date        May 29, 2018                                                     Date




Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                    page 3

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